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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge William J. Martínez

   Civil Action No. 12-cv-0447-WJM-KLM

   Consolidated with 12-cv-589-WJM-KLM and
                     13-cv-3155-WJM-KLM

   THOMAS B. WELLS,
   JAMES SWAGGERTY, and
   AVERY JAMES KAYTEN,
   Derivatively on behalf of Molycorp, Inc.,

          Plaintiffs,

   v.

   MARK A. SMITH,
   JOHN L. BURBA,
   JOHN F. ASHBURN, JR.,
   JAMES S. ALLEN,
   ROSS R. BHAPPU,
   BRIAN T. DOLAN,
   ALEC MACHIELS,
   MARK S. KRISTOFF,
   CHARLES R. HENRY,
   JACK E. THOMPSON,
   RUSSELL D. BALL,
   RCF MANAGEMENT, LLC.,
   PEGASUS CAPITAL ADVISORS, L.P., and
   MOLYCORP, INC, a Delaware corporation actually named as a Nominal Defendant,

          Defendants.


          ORDER ADMINISTRATIVELY CLOSING ALL CONSOLIDATED CASES


          The above-captioned action is a shareholder derivative lawsuit filed on behalf of

   Molycorp, Inc. against certain of Molycorp’s principals and directors. The claims raised

   herein are derivative of two securities class actions, one that is pending before another

   judge in this District, In re Molycorp Industries, No. 12-cv-292-RM-KMT, and one that is
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   pending before a New York court, In re Molycorp, Inc. Securities Litigation, No. 13 Civ.

   5697 (PAC) (S.D.N.Y.). Given the interrelated nature of the claims, the instant action is

   stayed pending resolution of the securities class actions. (ECF No. 104.) As both of the

   securities class actions are at a relatively early stage of litigation, the Court has no way

   to ascertain how long the current stay will be in place.

          Thus, pursuant to D.C.COLO.LCivR 41.2, the Court hereby ORDERS that the

   above-captioned case be ADMINISTRATIVELY CLOSED. The Clerk shall file a copy of

   this order in the consolidated cases (12-cv-589-WJM-KLM and 13-cv-3155-WJM-KLM),

   and such cases shall likewise be ADMINISTRATIVELY CLOSED. The Parties may by

   motion seek leave to reopen this case after the securities class actions are resolved, or

   for any other good cause shown.

          Dated this 15th day of January, 2015.

                                                              BY THE COURT:




                                                              William J. Martínez
                                                              United States District Judge




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